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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

                                                )
JANSSEN BIOTECH, INC.,                          )
                                                )
                      Plaintiff,                )
                                                ) C.A. No. 22-1549-MN
               v.                               )
                                                )
AMGEN INC.,                                     )
                                                )
                      Defendant.                )

 REVISED STIPULATION AND [PROPOSED] DISCOVERY PLAN AND SCHEDULE
           FOR JANSSEN’S PRELIMINARY INJUNCTION MOTION

        WHEREAS, Plaintiff Janssen Biotech, Inc. (“Plaintiff”) filed a Motion for a Preliminary

Injunction (“PI Motion”) on March 6, 2023 (D.I. 35);

        WHEREAS, on March 17, 2023, the parties submitted a Stipulation and [Proposed]

Discovery Plan and Schedule for Janssen’s Preliminary Injunction Motion (D.I. 68);

        WHEREAS, in connection with reaching agreement on this stipulation, the parties have

come to agreement on, among other things, a provision included separately in Exhibit A filed under

seal;

        WHEREAS, on March 20, 2023, the Court issued an Order (D.I. 70) informing the parties

that if the parties want a decision on the PI Motion by October 31, 2023, briefing needs to be

complete by July 21, 2023, and instructed the parties to submit a revised schedule by March 21,

2023. On March 21, 2023, at the parties’ request, the Court extended the deadline for the

submission of a revised schedule to March 22, 2023, and on March 22 extended it until noon on

March 23;




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       WHEREAS, Defendant and Plaintiff have met and conferred extensively to reach

agreement on a shortened proposed schedule and plan for resolution of the PI Motion consistent

with the Court’s Order;

       IT IS HEREBY STIPULATED, by Plaintiff and Defendant, subject to the approval of the

Court, that:

       1. Each side will be permitted a total of 20 Requests for the Production of Documents

limited to the issues in the PI Motion.

       2. Each side will be permitted to depose all declarants whose testimony is submitted by

the opposing party in connection with the PI Motion, plus up to two additional witnesses.

       3. To facilitate the presentation of issues and arguments, the page limits for the briefing

will be as follows:

               a.      Janssen has already filed its opening brief (20 pages);

               b.      Amgen shall file an answering brief (up to 30 pages);

               c.      Janssen shall file a reply brief (up to 20 pages); and

               d.      Amgen shall file a sur-reply brief (up to 10 pages), limited to issues of claim

construction and invalidity.

       4. The following schedule shall control the proceedings:

 Deadline                                                    Proposed Dates

 Janssen files PI Motion                                     3/6/2023 (Completed)
 Deadline to serve initial document requests                 3/14/2023 (Completed)
 Deadline to serve written responses to initial document 3/21/2023 (Completed)
 requests
 Substantial completion of initial document productions 3/28/2023
 Deadline by which Janssen produces witnesses for 4/25/2023
 deposition




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    [Amgen’s position: Deadline for parties to meet and 5/8/2023 [Amgen’s Proposal]
    confer on claim construction issues1]
                                                            [No Date] [Janssen’s Proposal]
    [Janssen’s position: This event is unnecessary as claim
    construction can be fully addressed in the preliminary
    injunction briefs (see D.I. 70)]
    Amgen files Responsive brief                            5/17/2023
    Deadline for Janssen to serve second document requests      5/19/2023
    (not to exceed total limit of 20) responding to Amgen’s
    Responsive brief
    Deadline for Amgen to serve written responses to            5/23/2023
    Janssen’s second document requests
    Substantial completion of Amgen document                    5/29/2023
    productions in response to Janssen’s second document
    requests
    Deadline by which Amgen produces witnesses for              6/9/2023
    deposition
    Janssen files Reply brief                                   6/26/2023
    Deadline for Amgen to serve second document requests        6/28/2023
    (not to exceed total limit of 20) responding to Janssen’s
    Reply brief
    Deadline for Janssen to serve written responses to          6/30/2023
    Amgen’s second document requests
    Substantial completion of Janssen document                  7/5/2023
    productions in response to Amgen’s second document
    requests
    Deadline for Janssen to produce reply declarants for        7/14/2023
    deposition
    Amgen files Sur-Reply brief                                 7/21/2023
    PI Hearing                                                  [Janssen’s Position: As soon as
                                                                possible per the Court’s schedule to
                                                                facilitate resolution by 10/31/2023]



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  Amgen’s Position: Process to Address Plain and Ordinary Meaning Issues: Amgen
proposes that the parties simultaneously exchange identification of claim terms/phrases to be
construed on 5/3/2023 and that they simultaneously exchange proposed constructions for
terms/phrases to be construed (parties cannot rely on “plain and ordinary meaning” without
providing the specific construction proposed according to the “plain and ordinary meaning”)
with citations to supporting intrinsic evidence on 5/7/2023.

Janssen’s Position: No such process is appropriate or necessary. Amgen can address its claim
construction in its opposition brief and Plaintiff will respond. Amgen has a 10-page surreply.



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                                             [Amgen’s Position: Amgen believes a
                                             hearing should not be necessary
                                             unless the Court would find it
                                             helpful.]




Dated: March 23, 2023

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IT IS SO ORDERED this _____ day of ________, 2023.



                                       ________________________________
                                       UNITED STATES DISTRICT JUDGE




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